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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DuWAYNE MASON * NO. 2:11-ev-00826(D(1), c/w MDL No. 2179

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VERSUS JUDGE CARL BARBIER

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SEACOR MARINE, LLC MAGISTRATE JUDGE SALLY SHUSHAN

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NOTICE OF SUBMISSION

PLEASE TAKE NOTICE that the motion to sever claim from “Deepwater Horizon
MDL and to set scheduling conference, filed by DuWayne Mason, be heard on the 1" day of
August, 2012, at 9:30 a.m., before Judge Carl Barbier, in Room C268, Hale Boggs Federal

Building, 500 Camp Street, New Orleans, Louisiana, or as soon thereafter as counsel may

be heard.
CERTIFICATE OF SERVICE Respectfully submitted,
T hereby certify that a copy of the above and SILBERT & GARON. L.LP

foregoing has been served upon all counsel of record
via e-mail (or, if required by the Clerk, by placing same

in the U.S, Mail, postage pre-paid) this 16"" day of July, /s/Scott E. Silbert
2012. SCOTT E. SILBERT (12068)
/s/Scott E. Silbert 909 Poydras Street, Suite 2130

New Orleans, LA 70112
Telephone: 504-581-6200
Telecopier: 504-584-5270
scoltt(@silbertgaron.com

